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                        Exhibit A

              Further Revised Proposed Order
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re
                                                                         Chapter 11

    Lordstown Motors Corp., et al.,1                                     Case No. 23-10831 (MFW)
                                                                         (Jointly Administered)

                                              Debtors.                   Re: Docket No. 776


                 ORDER (I) AUTHORIZING THE ASSUMPTION OF CERTAIN
                  EXECUTORY CONTRACTS, (II) FIXING CURE COSTS IN
               CONNECTION THERETO, AND (III) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the Debtors for entry of an order (this “Order”)

pursuant to sections 105 and 365 of the Bankruptcy Code, (a) authorizing the assumption of certain

executory contracts, as set forth on Schedule 1 attached hereto, (b) fixing cure costs to the Cure

Amounts as set forth on Schedule 1 attached hereto, and (c) granting related relief, as more fully

set forth in the Motion; and the Court having found that it has jurisdiction to consider the Motion

and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference, dated February 29, 2012 (Sleet, C.J.); and consideration of the

Motion and the relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b);

and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due,

sufficient, and proper notice of the Motion having been provided under the circumstances and in

accordance with the Bankruptcy Rules and the Local Rules, and it appearing that no other or further


1
             The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
             Corporation (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
             service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
2
             Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
             Motion or the Debtors’ Third Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp.
             and Its Affiliated Debtors (as amended, modified, or supplemented from time to time, the “Plan”), as
             applicable.



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notice need be provided; and a hearing having been held, if necessary, to consider the relief

requested in the Motion (the “Hearing”); and the record of the Hearing, if any, and all of the

proceedings had before the Court; and the Court having found and determined that the relief sought

in the Motion is in the best interests of the Debtors, their estates, their creditors, their stakeholders,

and all other parties-in-interest, and that the legal and factual bases set forth in the Motion establish

just cause for the relief granted herein; and after due deliberation and sufficient cause appearing

therefor,

          IT IS HEREBY ORDERED THAT:

          1.          The Motion is GRANTED as set forth herein.

          2.          Each of the executory contracts set forth on Schedule 1, attached hereto, are

assumed by the Debtors effective as of the Effective Date (as such term is defined in the Plan).

          3.          On or before the Effective Date, the Debtors shall have the right to remove any

executory contracts set forth on Schedule 1 in their sole discretion.

          4.          Any claim held by the Debtors against the Counterparties, whether or not such

claims arise under, are related to the assumption of, or are independent of the Contracts, are fully

preserved.

          5.          For the avoidance of doubt, notwithstanding the cure amount listed in Schedule 1,

attached hereto, the Debtors are authorized to pay additional amounts that come due after the

Effective Date pursuant to the terms of the applicable Contract in the ordinary course of business,

including amounts that accrued prior to the Effective Date; provided that nothing herein shall

prohibit the Debtors or any other party from challenging such asserted additional amounts

consistent with ordinary course practices and the Court shall retain jurisdiction to adjudicate such

disputes.



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          6.          Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity, extent,

perfection, priority, allowability, enforceability, or character of any claim or any security interest

which purportedly secures such claim or other asserted right or obligation, or a waiver or other

limitation on the Debtors’ ability to contest the same on any ground permitted by bankruptcy or

applicable non-bankruptcy law; (b) a waiver of the Debtors’ or any appropriate party in interest’s

rights to dispute the amount of, basis for, or validity of any claim against the Debtors; (c) a promise

to pay any claim; (d) a waiver of any claims or causes of action which may exist against any

creditor or interest holder; (e) an assumption or rejection of any executory contract pursuant to

section 365 of the Bankruptcy Code, except as specified herein, and nothing herein otherwise

affects the Debtors’ rights under section 365 of the Bankruptcy Code to assume or reject any

executory contract or unexpired lease with any party, except as specified in this Motion; (f)

granting third-party beneficiary status or bestowing any additional rights on any third party; (g)

being otherwise enforceable by any third party; or (h) an admission by the Debtors that such

Contract is, in fact, executory.

          7.          The Contracts shall be deemed valid and binding and in full force and effect and

assumed by the Debtor pursuant to section 365 of the Bankruptcy Code, subject only to the

payment of the Cure Amount, if any. Subject to the payment of the aforementioned Cure Amount,

if any, to the non-Debtor counterparties to each Contract, such counterparties are without basis to

assert against the Debtor, among other things, any defaults, breaches or claims of pecuniary losses

existing as of the entry of this Order or by reason of the entry of this Order.

          8.          The Debtors have demonstrated adequate assurance of future performance and have

satisfied the requirements set forth in section 365(b)(1) of the Bankruptcy Code.



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          9.          Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

          10.         Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

          11.         The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

          12.         This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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                                      Schedule 1

                                    The Contracts




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Lordstown Motors Corp., et al. ,
Schedule 1: Assumed Executory Contracts


  No.                            Counterparty                                                Contract                                 Counterparty Address          Debtor*   Cure Amount

         American Stock Transfer & Trust Company, LLC d/b/a         Transfer Agency and Registrar Services Agreement dated6201 15th Avenue
   1                                                                                                                                                                 LMC              $0.00
         Equiniti Trust Company, LLC                                February 27, 2019                                     Brooklyn, NY 11219
                                                                                                                          250 Park Avenue, Floor 18
   2     Complete Discovery Source, Inc.                            SOW dated December 16, 2020                                                                     LEVC         $15,158.09
                                                                                                                          New York, NY 10177
                                                                    Equity Edge Online and Employee Stock Plan Services   3 Edison Drive
   3     E*TRADE Financial Corporate Services, Inc.                                                                                                                 LEVC              $0.00
                                                                    Agreement dated October 5, 2020                       Alpharetta, GA 30005
                                                                    Amendment #3 to Equity Edge Online and Employee Stock 3 Edison Drive
   4     E*TRADE Financial Corporate Services, Inc.                                                                                                                 LEVC              $0.00
                                                                    Plan Services Agreement                               Alpharetta, GA 30005
                                                                                                                          3 Edison Drive
   5     E*TRADE Financial Corporate Services, Inc.                 Statement of Work for Stock Split Support Services                                               LMC              $0.00
                                                                                                                          Alpharetta, GA 30005
                                                                    Engagement Letter Agreement and Data Protection       16701 Melford Blvd, Suite 200
   6     FTI Consulting Technology LLC                                                                                                                               LMC         $15,974.85
                                                                    Addendum dated March 22, 2021                         Bowie, MD 20715
                                                                                                                          11808 Miracle Hills Drive
   7     Intrado Digital Media, LLC                                 Purchase order 118860 dated April 27, 2023                                                      LEVC              $0.00
                                                                                                                          Omaha, NE 68154
                                                                                                                          11808 Miracle Hills Drive
   8     Intrado Digital Media, LLC                                 Master Agreement dated October 18, 2022                                                          LMC              $0.00
                                                                                                                          Omaha, NE 68154
                                                                                                                          11808 Miracle Hills Drive
   9     Intrado Digital Media, LLC                                 Order Form dated October 18, 2022                                                                LMC              $0.00
                                                                                                                          Omaha, NE 68154
                                                                                                                          222 N Pacific Coast Highway, 3rd
   10    Kurtzman Carson Consultants LLC                            KCC Agreement for Services dated May 24, 2023         Floor                                      LMC              $0.00
                                                                                                                          El Segundo, CA 90245

                                                                    1400 American Lane                                          Paylocity Corporation Full Bundle
   11    Paylocity Corporation                                                                                                                                      LEVC              $0.00
                                                                    Schaumburg, IL 60173                                        Subscription Term Agreement

                                                                    1400 American Lane                                          Paylocity Corporation Full Bundle
   12    Paylocity Corporation                                                                                                                                      LEVS              $0.00
                                                                    Schaumburg, IL 60173                                        Subscription Term Agreement
                                                                                                                                350 E Main Street, Suite 200
   13    Skynet Innovations                                         Enterprise Managed Services Contract                                                             LMC              $0.00
                                                                                                                                Batavia, OH 45103
                                                                                                                                11333 N. Scottsdale Road, Suite
   14    TERIS-Phoenix, LLC                                         Statement of Work dated March 14, 2023                      294                                  LMC         $56,672.91
                                                                                                                                Scottsdale, AZ 85254
                                                                    Proposal re: Pre-IPO Collaboration to Post-IPO Disclosure   1501 Energy Park Drive
   15    Toppan Merrill Bridge                                                                                                                                      LEVC              $0.00
                                                                    Management dated August 14, 2020                            St. Paul, MN 55108
                                                                                                                                1501 Energy Park Drive
   16    Toppan Merrill LLC                                         Proposal re: SEC Connect dated February 25, 2021                                                 LMC              $0.00
                                                                                                                                St Paul, MN 55108
                                                                                                                                23 Public Square, Suite 250
   17    Vestige Digital Investigations                             Service Agreement SOW dated November 6, 2020                                                     LMC          $3,705.00
                                                                                                                                Medina, OH 44256
                                                                                                                                23 Public Square, Suite 250
   18    Vestige Ltd dba Vestige Digital Investments                Purchase order 109088 dated May 19, 2021                                                        LEVC              $0.00
                                                                                                                                Medina, OH 44256

* As used herein "LMC" refers to Lordstown Motors Corporation and "LEVC" refers to Lordstown EV Corporation.
